                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


Civil Action No. 21-cv-02595-LTB-GPG

CHARLES WILLIAMS,

       Plaintiff,

v.

COLORADO DEPARTMENT OF CORRECTIONS,

       Defendant.


                                         ORDER


       This matter is before the Court on the Recommendation of United States

Magistrate Judge filed December 16, 2021 (ECF No. 13). Plaintiff has filed timely written

objections to the Recommendation (ECF No. 14). The Court has therefore reviewed the

Recommendation de novo in light of the file and record in this case. On de novo review

the Court concludes that the Recommendation is correct. Accordingly, it is

       ORDERED that the Recommendation of United States Magistrate Judge (ECF

No. 13) is accepted and adopted. It is

       FURTHER ORDERED that the Complaint and Request for Relief (ECF No. 10)

and the action are dismissed as legally frivolous pursuant to 28 U.S.C. §

1915(e)(2)(B)(i). It is

       FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

denied without prejudice to the filing of a motion seeking leave to proceed in forma

pauperis on appeal in the United States Court of Appeals for the Tenth Circuit. The

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Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this dismissal

would not be taken in good faith.

      DATED: January 6, 2022

                                                BY THE COURT:


                                                  s/Lewis T. Babcock____________
                                                LEWIS T. BABCOCK, Senior Judge
                                                United States District Court




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